Case 9:17-cr-00032-MAC-ZJH          Document 99       Filed 04/09/18      Page 1 of 2 PageID #:
                                           278



                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 § CASE NUMBER 9:17-CR-00032-4-RC
v.                                               §
                                                 §
                                                 §
CARLOS MIRANDA-GONZALEZ                          §
                                                 §

         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

       The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

Procedure. Judge Zack Hawthorn conducted a hearing in the form and manner prescribed by

Federal Rule of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on

Guilty Plea Before the United States Magistrate Judge. The magistrate judge recommended that

the court accept the Defendant’s guilty plea. He further recommended that the court adjudge the

Defendant guilty on Count One of the Information filed against the Defendant.

       The parties have not objected to the magistrate judge’s findings. The court ORDERS

that the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate

Judge are ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the plea

agreement until after review of the presentence report. The court ORDERS the Defendant’s

attorney to read and discuss the presentence report with the Defendant, and file any objections to

the report BEFORE the date of the sentencing hearing.
Case 9:17-cr-00032-MAC-ZJH        Document 99       Filed 04/09/18    Page 2 of 2 PageID #:
                                         279



       It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

magistrate judge’s findings and recommendation, the Defendant, Carlos Miranda-Gonzalez, is

adjudged guilty as to Count One of the Information charging a violation of 18 U.S.C. § 1344 -

Bank Fraud.


        So Ordered and Signed
        Apr 9, 2018
